USCA4 Appeal: 22-2289    Doc: 40        Filed: 06/08/2023      Pg: 1 of 66




                                            No. 22-2289

        UNITED STATES COURT OF APPEALS FOR THE FOURTH CIRCUIT


            PHILLIP ALIG; SARA J. ALIG; ROXANNE SHEA; DANIEL V. SHEA,
                                                Plaintiffs-Appellees,
                                                 v.
         ROCKET MORTGAGE, LLC, f/k/a Quicken Loans Inc.; AMROCK, LLC, f/k/a
              Title Source, Inc., d/b/a Title Source Inc. of West Virginia, Inc.,
                                                          Defendants-Appellants.

                          On Appeal from the United States District Court
        for the Northern District of West Virginia, No. 5:12-cv-114, 5:12-cv-115 (Bailey, J.)


                               APPELLANTS’ OPENING BRIEF


             Helgi C. Walker                          William M. Jay
             Jesenka Mrdjenovic                       Thomas M. Hefferon
             Andrew G.I. Kilberg                      Brooks R. Brown
             GIBSON, DUNN & CRUTCHER LLP              Jaime A. Santos
             1050 Connecticut Avenue, N.W.            Keith Levenberg
             Washington, D.C. 20036                   Rohiniyurie Tashima*
             Tel.: +1 202 955 8500                    GOODWIN PROCTER LLP
                                                      1900 N Street, N.W.
             Theodore J. Boutrous, Jr.                Washington, D.C. 20036
             GIBSON, DUNN & CRUTCHER LLP              Tel.: +1 202 346 4000
             333 South Grand Avenue
             Los Angeles, CA 90071                    Edwina B. Clarke
             Tel.: +1 213 229 7000                    GOODWIN PROCTER LLP
                                                      100 Northern Ave.
             June 8, 2023                             Boston, MA 02210
                                                      Tel.: +1 617 570 1000

                                                      Counsel for Defendants-Appellants
USCA4 Appeal: 22-2289     Doc: 40       Filed: 06/08/2023     Pg: 2 of 66




                  DISCLOSURE OF CORPORATE AFFILIATIONS
                          AND OTHER INTERESTS
              (ROCKET MORTGAGE, LLC, F/K/A QUICKEN LOANS INC.)


        Pursuant to FRAP 26.1 and Local Rule 26.1, Rocket Mortgage, LLC, f/k/a Quicken
        Loans Inc., which is Appellant, makes the following disclosure:

        1.    Rocket Mortgage, LLC, is not a publicly held corporation or other publicly
        held entity.

        2.  Rocket Mortgage, LLC, does have a parent company. The parent company is
        RKT Holdings, LLC.

        3.    There is no publicly held corporation or other publicly held entity that holds
        more than 10% of the stock of Rocket Mortgage, LLC.

        4.     There is no other publicly held corporation or other publicly held entity that
        has a direct financial interest in the outcome of the litigation.
        5.    Rocket Mortgage, LLC, is not a trade association.

        6.    This case does not arise out of a bankruptcy proceeding.

        7.    This is not a criminal case in which there was an organizational victim.



                                                       /s/ William M. Jay
                                                       William M. Jay




                                                 -i-
USCA4 Appeal: 22-2289     Doc: 40       Filed: 06/08/2023     Pg: 3 of 66




                      DISCLOSURE OF CORPORATE AFFILIATIONS
                              AND OTHER INTERESTS
                       (AMROCK, LLC F/K/A TITLE SOURCE, INC.)


        Pursuant to FRAP 26.1 and Local Rule 26.1, Amrock, LLC, f/k/a Title Source, Inc.,
        which is Appellant, makes the following disclosure:

        1.    Amrock, LLC is not a publicly held corporation or other publicly held entity.
        2.    Amrock, LLC, does have a parent company. The parent company is Amrock
        Holdings, LLC.

        3.    There is no publicly held corporation or other publicly held entity that holds
        more than 10% of the stock of Amrock, LLC.

        4.     There is no other publicly held corporation or other publicly held entity that
        has a direct financial interest in the outcome of the litigation.

        5.    Amrock, LLC, is not a trade association.

        6.    This case does not arise out of a bankruptcy proceeding.

        7.    This is not a criminal case in which there was an organizational victim.



                                                       /s/ William M. Jay
                                                       William M. Jay




                                                -ii-
USCA4 Appeal: 22-2289            Doc: 40               Filed: 06/08/2023              Pg: 4 of 66




                                                 TABLE OF CONTENTS


        INTRODUCTION ....................................................................................................1
        JURISDICTION........................................................................................................5
        STATEMENT OF THE ISSUES..............................................................................5
        BACKGROUND ......................................................................................................6
                 I.       This case concerns Defendants’ pre-2009 appraisal-ordering
                          process. .................................................................................................6
                 II.      Plaintiffs sue, alleging that Quicken Loans and TSI sought to
                          influence appraisers to provide inflated appraisal numbers and
                          thereby increase the size of refinance loans. ........................................9
                 III.     The district court certifies a class without regard to standing,
                          grants summary judgment to the class, and awards $10 million
                          in classwide damages. ........................................................................13
                 IV.      This Court largely affirms, holding that the mere purchase of an
                          appraisal requested through a process in which appraisers were
                          “exposed” to BEVs was sufficient to establish Article III injury-
                          in-fact..................................................................................................19
                 V.       The Supreme Court holds in TransUnion that an unrealized risk
                          of future injury does not establish standing to seek money
                          damages and GVRs this case for further consideration in light
                          of TransUnion. ...................................................................................22
                 VI.      This Court remands to the district court to consider
                          TransUnion’s application to this case in the first instance. ...............23
                 VII. Seven days after receiving this Court’s mandate, the district
                      court holds that TransUnion changes nothing and that this
                      Court should “reissue its prior opinion.”............................................24
        SUMMARY OF ARGUMENT ..............................................................................25
        STANDARD OF REVIEW ....................................................................................27
        ARGUMENT ..........................................................................................................28
                 I.       TransUnion makes clear that exposure to the risk of an
                          inaccurate appraisal is not cognizable injury under Article III. .........28




                                                                   -iii-
USCA4 Appeal: 22-2289           Doc: 40              Filed: 06/08/2023            Pg: 5 of 66




                II.      The district court erred in holding that every plaintiff suffered a
                         “pocketbook injury” based on the mere purchase of an appraisal
                         that caused no harm. ...........................................................................33
                III.     The district court’s recharacterization of this case as a “fraud”
                         case does not establish constitutional injury. .....................................45
                IV.      Because Plaintiffs did not establish actual injury to any absent
                         class members, the class must be decertified and the damages
                         award vacated. ....................................................................................46
                V.       Defendants incorporate their prior briefing on questions
                         unrelated to standing. .........................................................................53
        CONCLUSION .......................................................................................................55




                                                                -iv-
USCA4 Appeal: 22-2289          Doc: 40             Filed: 06/08/2023          Pg: 6 of 66




                                           TABLE OF AUTHORITIES
                                                                                                             Page(s)

        Cases:

        Alig v. Quicken Loans Inc.,
           990 F.3d 782 (4th Cir. 2021), vacated, 142 S. Ct. 748 (2022) ................... passim
        Alig v. Rocket Mortgage, LLC,
           52 F.4th 167 (4th Cir. 2022) .....................................................................2, 23, 24
        Avritt v. Reliastar Life Ins.,
           615 F.3d 1023 (8th Cir. 2010) ............................................................................48

        Baehr v. Creig Northrop Team, P.C.,
          953 F.3d 244 (4th Cir. 2020) ..................................................4, 26, 34, 35, 36, 37
        Bowen v. Energizer Holdings, Inc.,
          2023 WL 1786731 (C.D. Cal. Jan. 5, 2023) .......................................................40
        Branch v. GEICO,
           323 F.R.D. 539 (E.D. Va. 2018) .........................................................................49
        Broussard v. Meineke Discount Muffler Shops, Inc.,
           155 F.3d 331 (4th Cir. 1998) ..............................................................................47

        Cahen v. Toyota Motor Corp.,
          717 F. App’x 720 (9th Cir. 2017) .......................................................................42
        Cordoba v. DIRECTV, LLC,
          942 F.3d 1259 (11th Cir. 2019) ....................................................................48, 49

        Core Commc’ns, Inc. v. Verizon Md. LLC,
          744 F.3d 310 (4th Cir. 2014) ................................................................................6

        Debernardis v. IQ Formulations, LLC,
          942 F.3d 1076 (11th Cir. 2019) ....................................................................43, 44

        Denney v. Deutsche Bank AG,
          443 F.3d 253 (2d Cir. 2006) ...............................................................................48

        Doss v. Gen. Mills, Inc.,
          816 F. App’x 312 (11th Cir. 2020) .....................................................................42

                                                              -v-
USCA4 Appeal: 22-2289           Doc: 40              Filed: 06/08/2023           Pg: 7 of 66




        Dozier v. Walmart Inc.,
          2021 WL 1534973 (C.D. Cal. Mar. 5, 2021)................................................40, 44

        Dreher v. Experian Info. Sols.,
          856 F.3d 337 (4th Cir. 2017) ..............................................................................27

        EQT Prod. Co. v. Adair,
          764 F.3d 347 (4th Cir. 2014) ..............................................................................27

        Flecha v. Medicredit, Inc.,
           946 F.3d 762 (5th Cir. 2020) ..............................................................................48

        Flynn v. FCA US LLC,
           2020 WL 1492687 (S.D. Ill. Mar. 27, 2020) ......................................................42

        In re Fruit Juice Prod. Litig.,
           831 F. Supp. 2d 507 (D. Mass. 2011) .................................................................42
        In re Gerber Prod. Co. Heavy Metals Baby Food Litig.,
           2022 WL 10197651 (E.D. Va. Oct. 17, 2022)....................................................40
        Gunnells v. Healthplan Servs., Inc.,
          348 F.3d 417 (4th Cir. 2003) ..............................................................................46

        Huertas v. Bayer U.S., LLC,
          2022 WL 3572818 (D.N.J. Aug. 19, 2022) ........................................................41
        Johannessohn v. Polaris Indus. Inc.,
           9 F.4th 981 (8th Cir. 2021) .................................................................................48

        In re Johnson & Johnson Talcum Powder Prods. Litig.,
            903 F.3d 278 (3d Cir. 2018) .............................................................39, 40, 41, 44

        Lewis v. Casey,
          518 U.S. 343 (1996) ............................................................................................47
        Lujan v. Defs. of Wildlife,
           504 U.S. 555 (1992) ............................................................................................47
        Maya v. Centex Corp.,
          658 F.3d 1060 (9th Cir. 2011) ............................................................................42




                                                               -vi-
USCA4 Appeal: 22-2289           Doc: 40              Filed: 06/08/2023           Pg: 8 of 66




        McFarland v. Wells Fargo Bank, N.A.,
          810 F.3d 273 (4th Cir. 2016) ................................................................................ 6

        McGee v. S-L Snacks Nat’l,
          982 F.3d 700 (9th Cir. 2020) ..................................................................39, 40, 41

        Messner v. Northshore Univ. HealthSystem,
          669 F.3d 802 (7th Cir. 2012) ..............................................................................49

        Neale v. Volvo Cars of N. Am., LLC,
          794 F.3d 353 (3d Cir. 2015) ...............................................................................49

        In re Nexium Antitrust Litig.,
           777 F.3d 9 (1st Cir. 2015) ...................................................................................48

        O'Leary v. TrustedID, Inc.,
           60 F.4th 240 (4th Cir. 2023) ...............................................................................52
        Olean Wholesale Grocery Coop., Inc. v. Bumble Bee Foods LLC,
           31 F.4th 651 (9th Cir. 2022) (en banc) ...............................................................49
        In re Plum Baby Food Litig.,
            2022 WL 16552786 (D.N.J. Oct. 31, 2022) .......................................................41

        Rivera v. Wyeth-Ayerst Lab’ys,
           283 F.3d 315 (5th Cir. 2002) ..................................................................39, 40, 41
        Shields v. Alere Home Monitoring, Inc.,
           2015 WL 7272672 (N.D. Cal. Nov. 18, 2015) .......................................39, 40, 41

        Smith v. Catamaran Health Sols., LLC,
          205 F. Supp. 3d 699 (D.S.C. 2016) ....................................................................41

        Spokeo, Inc. v. Robins,
           578 U.S. 330 (2016) ............................................................................................14
        Thorn v. Jefferson-Pilot Life Ins.,
          445 F.3d 311 (4th Cir. 2006) ........................................................................27, 46
        Thorne v. Pep Boys Manny Moe & Jack Inc.,
          980 F.3d 879 (3d Cir. 2020) .........................................................................38, 39




                                                               -vii-
USCA4 Appeal: 22-2289            Doc: 40               Filed: 06/08/2023            Pg: 9 of 66




        TransUnion LLC v. Ramirez,
           141 S. Ct. 2190 (2021) .................................................................................passim

        Wal-Mart Stores, Inc. v. Dukes,
          564 U.S. 338 (2011) ............................................................................................51

        White v. Nat’l Steel Corp.,
          938 F.2d 474 (4th Cir. 1991) ..............................................................................46

        Williams v. Purdue Pharma Co.,
           297 F. Supp. 2d 171 (D.D.C. 2003) ....................................................................41

        Statutes:
        28 U.S.C. § 1291 ........................................................................................................5

        28 U.S.C. § 1332(d) ...................................................................................................5
        28 U.S.C. § 1447 ......................................................................................................52
        28 U.S.C. § 2072(b) .................................................................................................47

        W. Va. Code § 31-17-8(m)(8)..............................................................................7, 44
        W. Va. Code § 46A-5-101(1) (1996) .......................................................................19
        W. Va. Code § 46A-5-106 (1996) ...........................................................................19
        Other Authorities:

        Freddie Mac, Home Valuation Code of Conduct, § I.B(6) (Dec. 2008),
           https://www.fhfa.gov/Media/PublicAffairs/Documents/HVCCFinal
           CODE122308_N508.pdf ......................................................................................8

        Restatement (Second) of Torts § 525 (1977) ...........................................................46

        Uniform Residential Loan Application, https://singlefamily.fanniemae.com/
          media/7896/display ...............................................................................................7




                                                                 -viii-
USCA4 Appeal: 22-2289     Doc: 40        Filed: 06/08/2023    Pg: 10 of 66




                                         INTRODUCTION

              This is the third time the parties have been before this Court on the issue of

        constitutional standing. Plaintiffs obtained class certification and won millions of

        dollars in statutory damages by claiming that a common practice in mortgage

        refinancing transactions—one expressly permitted by the applicable professional

        standards at the time—was nonetheless “unconscionable” under West Virginia law.

        But Plaintiffs proffered no evidence that the practice caused any actual injury to the

        class members, and the district court required none. This Court initially affirmed,

        but the Supreme Court vacated that decision and directed this Court to reconsider in

        light of TransUnion LLC v. Ramirez, 141 S. Ct. 2190 (2021), which held that a mere

        risk of harm does not satisfy Article III. This Court then remanded to the district

        court to evaluate standing under TransUnion. The district court did not do that: it

        entertained no briefing or argument and, just days after receiving the mandate,

        brushed aside the Supreme Court’s decision as completely irrelevant.           Under

        TransUnion, the class certification cannot stand, and this Court should reverse.

              The class consists of borrowers who refinanced their home mortgage loans

        and submitted their own estimates of what their homes were worth as part of their

        refinance applications. The claimed statutory violation arose from sharing the

        borrower’s estimate with the appraisal company—a common practice that was

        entirely consistent with appraisal standards at the time.



                                                 -1-
USCA4 Appeal: 22-2289     Doc: 40        Filed: 06/08/2023    Pg: 11 of 66




              Before TransUnion, this Court held the class members had standing because

        the appraisers had been “exposed” to “borrowers’ estimates of value,” which the

        Court said rendered the appraisals “tainted” despite the appraisers’ sworn testimony

        that the estimates did not affect them. Alig v. Quicken Loans Inc., 990 F.3d 782,

        791-92 (4th Cir. 2021). But in TransUnion, the Supreme Court held that an

        unrealized risk of harm—there, the plaintiffs’ “expos[ure] … to a material risk” that

        creditors would see negative information in their credit files—was insufficient to

        establish standing to seek damages. 141 S. Ct. at 2210-2212. The Supreme Court

        vacated this Court’s decision and ordered reconsideration in light of TransUnion.

              On remand, this Court recognized that TransUnion “requir[ed] proof” that

        every class member “suffered concrete harm from the challenged conduct” and

        remanded to “the district court [to] apply TransUnion to the facts of this case.” Alig

        v. Rocket Mortgage, LLC, 52 F.4th 167, 168 (4th Cir. 2022) (quotation marks

        omitted). But that is not what happened. Seven days after this Court’s mandate

        issued, and without requesting or entertaining any briefing, the district court issued

        a short order that declared for the first time that all class members have standing.

        Instead of applying TransUnion to the facts of this case, the district court breezily

        compared a few passages from TransUnion to a few paragraphs from this Court’s

        vacated 2021 decision, concluded that TransUnion changed nothing, and stated that

        this Court should “reissue its prior opinion, with the added clarification that nothing


                                                 -2-
USCA4 Appeal: 22-2289     Doc: 40       Filed: 06/08/2023    Pg: 12 of 66




        in TransUnion alters” this Court’s vacated pre-TransUnion decision. JA815. The

        district court also reinstated its prior judgment. JA816-817. Thus, this Court must

        decide whether Plaintiffs established standing classwide, as well as all the issues

        previously raised.

              Plaintiffs’ claim is that sharing borrowers’ estimates of value could influence

        appraisers to appraise borrowers’ homes for more than their actual value, which

        could lead to inflated loans, which could leave borrowers “upside down.” But no

        classwide evidence supports that speculation about the risk of “taint,” much less

        demonstrates that this risk actually materialized for anyone.

              The actual evidence shows that: some appraisers did not even see borrowers’

        estimates before completing their appraisal; appraisers themselves confirmed that

        borrowers’ estimates did not impact their appraisal valuations whatsoever; and, for

        the many borrowers who had significant equity in their homes and were borrowing

        a relatively small amount of money, the appraisal value was immaterial to the loan

        amount. The record also includes evidence that many class members’ refinance

        loans allowed them to save money by lowering their interest rates, avoiding balloon

        payments, and consolidating debt at a lower interest rate.           As this Court

        acknowledged in the prior appeal, “[t]he record is devoid of evidence” that the

        exposure to borrowers’ estimates affected the accuracy of any unnamed class




                                                 -3-
USCA4 Appeal: 22-2289     Doc: 40        Filed: 06/08/2023    Pg: 13 of 66




        member’s appraisal, 990 F.3d at 803 n.22, much less inflated loan amounts or caused

        downstream economic harm to borrowers.

              Against this evidence, Plaintiffs say that they paid for their appraisals and

        instead got something worthless. But as this Court’s decision in Baehr v. Creig

        Northrop Team, P.C., 953 F.3d 244 (4th Cir. 2020), makes clear, simply paying

        money for services does not create standing to assert a statutory violation where

        those services were in fact performed and caused the buyer no harm. And courts

        across the country have similarly held that litigants cannot turn an unrealized risk of

        harm into “economic injury” by simply labeling the purchased product “worthless.”

              This Court should reverse the class certification and vacate the damages

        award. Plaintiffs have no viable theory of injury for any of the absent class members,

        and even if Plaintiffs could show injury to some borrowers, they could not show it

        through classwide evidence that applies equally to all 2,769 loans in the class.

        Standing is an individualized injury that defeats predominance. Multiple circuits

        have recognized that a class with a large number of uninjured members cannot be

        certified; it certainly cannot be awarded $10 million in statutory damages.

              For the additional reasons Defendants have previously urged, which this Court

        has allowed them to incorporate by reference, the Court should reverse both

        summary judgment and class certification. At a minimum, the Court should reinstate




                                                 -4-
USCA4 Appeal: 22-2289       Doc: 40        Filed: 06/08/2023   Pg: 14 of 66




        the aspect of its vacated prior decision that set aside the judgment on the breach-of-

        contract claim.

                                           JURISDICTION

                 The district court had jurisdiction pursuant to 28 U.S.C. § 1332(d). The court

        entered final judgment on December 12, 2022. JA816-817. Defendants timely

        appealed on December 19, 2022. JA818. This Court has jurisdiction under 28

        U.S.C. § 1291.

                                   STATEMENT OF THE ISSUES
                 1.    Whether, consistent with the Supreme Court’s decision in TransUnion,

        Plaintiffs can establish Article III injury-in-fact based on evidence that appraisal

        companies were “exposed” to information that could have influenced appraisers,

        without classwide evidence that the information actually did influence appraisals

        and caused harm to class members as a result.

                 2.    Whether the class must be decertified and the $10 million judgment

        vacated where Plaintiffs provided no evidence that absent class members suffered

        injury-in-fact.

                 3.    Whether the breach-of-contract decision must be vacated for the

        reasons the Court previously stated, and the class certification vacated as to that

        claim.




                                                   -5-
USCA4 Appeal: 22-2289     Doc: 40        Filed: 06/08/2023    Pg: 15 of 66




              4.    Whether the liability verdict must be vacated for all the non-standing

        related reasons stated in Defendants’ original briefing in Case No. 19-1059.

                                         BACKGROUND

              The district court resolved the issue of standing in Plaintiffs’ favor as a matter

        of law, at summary judgment. Accordingly, the record must be read in the light most

        favorable to Appellants. See Core Commc’ns, Inc. v. Verizon Md. LLC, 744 F.3d

        310, 320 (4th Cir. 2014).

        I.    This case concerns Defendants’ pre-2009 appraisal-ordering process.
              The class members refinanced their home mortgage loans with Quicken Loans

        Inc. (“Quicken Loans”) prior to 2009.        This case concerns the process used by

        Quicken Loans and Title Source, Inc. (“TSI”)1 during the class period to order

        appraisals to underwrite those refinance loans. Lenders use independent appraisals

        to assess the value of the property securing a loan. This protects the lender: if a

        borrower takes out a loan that exceeds her home’s value, “it is not the borrower but

        the bank that typically is disadvantaged,” because if the borrower defaults, the

        collateral would not adequately secure the loan. McFarland v. Wells Fargo Bank,

        N.A., 810 F.3d 273, 280 (4th Cir. 2016).




        1
          Quicken Loans Inc. is now named Rocket Mortgage, LLC, and Title Source, Inc.
        is now named Amrock, LLC. For the sake of consistency with the district court
        record, this brief uses the former names.

                                                   -6-
USCA4 Appeal: 22-2289     Doc: 40       Filed: 06/08/2023    Pg: 16 of 66




              Independent appraisers are not employed by the lender. They are state-

        licensed professionals obliged to perform their work with “impartiality, objectivity,

        and independence.” JA320. On every appraisal, the appraiser certifies (subject to

        federal criminal penalties) that the appraisal was based on the appraiser’s “own

        personal, unbiased, and professional analysis”; not “conditioned on any agreement

        or understanding” about what value to return; and prepared “in accordance with the

        requirements of the Uniform Standards of Professional Appraisal Practice”

        (“USPAP”) issued by the Appraisal Standards Board. E.g., JA266-267. Throughout

        the class period (and continuing through today), West Virginia law treated USPAP

        as the applicable professional standards, and provided a safe harbor for lenders if

        they relied on USPAP-compliant appraisals. See W. Va. Code § 31-17-8(m)(8).

              When a homeowner seeks to refinance her mortgage loan, she includes her

        own estimate of her home’s value on the Uniform Residential Loan Application

        (“URLA”) created by Fannie Mae and used throughout the industry. JA253.2

        Before 2009, it was a common, industry-wide practice for lenders to include this

        “borrower’s estimate of value” (“BEV”) on appraisal-order forms sent to appraisal

        companies. JA423. Providing this information to appraisal companies helped them

        to price the appraisal job and match it with an appraiser who had the appropriate


        2
         For an example of a URLA form, see https://singlefamily.fanniemae.com/media/
        7896/display.


                                                 -7-
USCA4 Appeal: 22-2289     Doc: 40        Filed: 06/08/2023   Pg: 17 of 66




        licensure and experience.       JA620-623; JA627; JA1126.           USPAP expressly

        recognized throughout the class period that appraisers could learn the borrower’s

        home-value estimate without violating the appraiser’s duty to render impartial,

        objective, and independent appraisals. JA321. Indeed, for a home purchase (as

        opposed to a refinance), appraisers were required to learn the sale price, which

        likewise reflects a borrower’s view of the property’s market value. JA321.

              In 2009, the rules changed. Market participants and regulators adopted the

        Home Valuation Code of Conduct, which for the first time prohibited lenders from

        providing borrowers’ estimates to appraisers in connection with refinance loans.

        JA479-480. For purchase loans, however, appraisers are still permitted to receive

        the contract price.3

              Defendants handled borrowers’ estimates consistent with USPAP and

        applicable law.        Before the 2009 rule change, Quicken Loans transmitted

        information from borrowers’ loan applications—including the estimates the

        borrowers supplied on the uniform application—to TSI, an affiliated appraisal-

        management company, which then arranged for the appraisal.              JA479.   TSI

        automatically generated appraisal-order forms using that information, including



        3
          See Freddie Mac, Home Valuation Code of Conduct, § I.B(6) (Dec. 2008),
        https://www.fhfa.gov/Media/PublicAffairs/Documents/HVCCFinalCODE122308_
        N508.pdf.


                                                 -8-
USCA4 Appeal: 22-2289     Doc: 40        Filed: 06/08/2023   Pg: 18 of 66




        BEVs. TSI sent those forms to appraisal companies, which assigned the appraisals

        to individual appraisers in the part of West Virginia where each property was

        located. JA479; JA620-623; JA1128-1129. Appraisal companies used estimates of

        value to price each job and assign it to an appraiser with the right licensure, JA423;

        JA620-623; JA1126. The individual appraiser might not see the order form or the

        estimate. JA1270; JA1277-1278.

              Contemporaneously with the 2009 rule change, Defendants changed their

        practice nationwide and began omitting borrowers’ estimates from appraisal request

        forms. This case concerns only the period before the change, when providing the

        BEV to appraisal companies and appraisers was expressly authorized under USPAP

        and when West Virginia law expressly authorized lenders to rely on appraisals that

        were compliant with USPAP.

        II.   Plaintiffs sue, alleging that Quicken Loans and TSI sought to influence
              appraisers to provide inflated appraisal numbers and thereby increase
              the size of refinance loans.
              After the rules changed in 2009, the named plaintiffs—two couples who had

        refinanced their home-mortgage loans with Quicken Loans in 2007 and 2008,

        respectively, to lower their monthly debt payments and interest rates—sued Quicken

        Loans and TSI, asserting several claims under West Virginia law.

              Phillip and Sara Alig (the only class representatives) purchased their home in

        2003 for $105,000. JA1102. In 2007, they decided to refinance and estimated their



                                                 -9-
USCA4 Appeal: 22-2289     Doc: 40         Filed: 06/08/2023    Pg: 19 of 66




        home’s value as $129,000 on the URLA they submitted to Quicken Loans. JA417.

        Roxanne and Daniel Shea purchased their home in 2006, for $149,350. JA247. In

        2008, they estimated the value of their home as $175,000. JA1128. Because both

        couples refinanced in 2007 and 2008, before the rule change, their estimates were

        included on the appraisal-order forms that TSI sent to local appraisal companies.

        JA480.

              Both couples’ home appraisals came in below the borrowers’ estimates. The

        Sheas’ property appraised at $158,000—$17,000 below the Sheas’ estimate. JA417;

        JA1128. The Aligs’ appraiser initially valued their property at $122,500. JA336.

        TSI asked the appraiser to “revisit [the] appraisal” in light of recent “comps,” which

        included nearby sales of homes for $124,000 and $132,000. JA858.4 Based on the

        additional data, the appraiser raised his appraisal value $3,000, to $125,500—still

        thousands of dollars below the Aligs’ estimate. JA858-859.

              In connection with this lawsuit, Plaintiffs commissioned a retrospective

        appraisal of the 2007 value of the Aligs’ home. Four years after the loan, and lacking

        the ability to observe the condition of the home as it stood at the time, Plaintiffs’ two

        retrospective appraisers estimated that the 2007 value had been $99,500 or $105,000,

        respectively—less than or equal to the 2003 purchase price. Alig, 990 F.3d at 789.


        4
         Such requests to revisit the appraisal were relatively rare. JA858. Plaintiffs did
        not base their claim on this request for reconsideration.


                                                  -10-
USCA4 Appeal: 22-2289       Doc: 40       Filed: 06/08/2023   Pg: 20 of 66




        Defendants contested the accuracy of these retrospective appraisals; because this

        case was decided at the summary-judgment stage, the district court did not resolve

        this factual dispute and did not decide whether the Aligs’ 2007 appraisal had been

        inflated.

                In 2007, the Aligs obtained a refinance loan for $112,950 at a fixed interest

        rate of 6.25%. They used the proceeds to pay off two consumer loans with higher

        interest rates, thereby lowering their monthly debt payments by $480. JA248-249.

        Four years later, the Aligs again refinanced with Quicken Loans, further lowering

        their interest rate to 4.5%. JA338.

                In 2008, the Sheas obtained a refinance loan for $155,548 at a fixed interest

        rate of 6.625%, which they used to avoid an approaching balloon payment on their

        primary mortgage loan from a different lender, and to pay off a second mortgage

        loan with a 12.4% interest rate, also from a different lender. JA247; JA336. The

        Sheas gave Quicken Loans “excellent” (5-out-of-5) ratings for its work in

        originating the refinance loan. JA336. Seven years later, the Sheas sold their home

        for $165,000. JA336.

                Plaintiffs asserted several claims in their complaint. Those relevant here all

        related to the handling of borrowers’ estimates. 5 Plaintiffs sought to certify a class

        of “[a]ll West Virginia citizens who refinanced mortgage loans with Quicken, and


        5
            The remaining claims were resolved against Plaintiffs on their merits. JA801.

                                                 -11-
USCA4 Appeal: 22-2289     Doc: 40        Filed: 06/08/2023    Pg: 21 of 66




        for whom Quicken obtained appraisals through an appraisal request form that

        included an estimate of value of the subject property.” JA552.

              Plaintiffs insisted that, at a general level, the practice was harmful. They

        claimed that Quicken Loans and TSI were attempting to “influence appraisers” to

        provide inflated appraisal values that would support loans in excess of the fair market

        value of borrowers’ homes. JA62; JA77; Answering Brief in No. 19-1059 (ECF No.

        48) (“19-1059 Answering Br.”) 18-19, 40. As Plaintiffs previously informed this

        Court, their theory was that this practice was unconscionable because it “can leave

        buyers ‘upside down’—owing more than the property is worth”—and therefore

        “trapped, unable to refinance to obtain better terms or sell [the] home to relocate,”

        and sometimes resulting in “foreclosure.” 19-1059 Answering Br. 7-8 (citations

        omitted).

              But none of these things happened to either the Sheas or the Aligs. Indeed,

        Plaintiffs offered no evidence that a single absent class member was harmed by

        Defendants’ practice.    They developed no evidence that any class member’s

        appraiser—let alone all of them—saw a borrower’s estimate and was “influence[d]”

        by it; that a class member’s appraisal value was inaccurate; or that a class member

        became underwater on a refinance loan, was unable to refinance or sell the home, or

        experienced foreclosure.     And although Plaintiffs commissioned retrospective

        appraisals of the Aligs’ home (supposedly showing that the actual value was lower


                                                 -12-
USCA4 Appeal: 22-2289     Doc: 40        Filed: 06/08/2023      Pg: 22 of 66




        at the time of their refinancing than the appraised value), they did not commission

        retrospective appraisals for any absent class member.

        III.   The district court certifies a class without regard to standing, grants
               summary judgment to the class, and awards $10 million in classwide
               damages.

               The district court certified the class and, simultaneously, granted Plaintiffs’

        motion for summary judgment on liability. JA552-553.

               The court first held that providing borrowers’ estimates to appraisal

        companies     without    disclosing   that   practice     to   borrowers   constituted

        “unconscionable inducement” to enter into a loan, in violation of the West Virginia

        Consumer Credit Protection Act (WVCCPA), even where actual harm is “not

        present.” JA512-514; JA544. The court also held that the same conduct was a

        breach of contract requiring disgorgement of the appraisal price, irrespective of

        harm. JA515-517; JA533; JA544. The court concluded that these claims could be

        resolved on a class basis because “[i]f Quicken [Loans] violated the law”—and the

        court had already determined that sharing borrowers’ estimates with appraisers was

        a per se violation of the WVCCPA and a breach of contract, even when it harmed

        no one—all that remained was “to award statutory damages and set an amount.”

        JA532.

               At about the same time as the district court’s decision, the Supreme Court

        decided Spokeo, Inc. v. Robins, holding that “even in the context of a statutory



                                                 -13-
USCA4 Appeal: 22-2289     Doc: 40        Filed: 06/08/2023   Pg: 23 of 66




        violation,” plaintiffs must have “a concrete injury,” which “must affect [them] in a

        personal and individual way.” 578 U.S. 330, 339, 341 (2016) (citation omitted).

        Although the district court refused to allow Defendants to take targeted discovery

        about whether borrowers’ appraisals were actually inflated or class members were

        actually harmed, JA586; JA598, Defendants developed evidence demonstrating that

        many class members had not suffered any concrete injury-in-fact.

              Most starkly, some appraisers completed their valuations without even seeing

        the borrower’s estimate that had been sent to their appraisal company. JA1270;

        JA1277-1278. Plaintiffs have never explained how an appraisal could be “tainted”

        by an estimate the appraiser did not see.

              More broadly, each appraiser who testified—including Plaintiffs’ experts—

        said that all their appraisals were developed independently and not based on

        borrowers’ estimates. JA441; JA444-445; JA451-452; JA456; JA463-464; JA473-

        475. For example, appraiser Jody Hill testified that she was “not influenced by any

        numbers at all.” JA473-475. And appraiser Phillip Jackson testified that he

        “probably wouldn’t give … any credence at all” to a homeowner’s valuation “based

        on his idea of what houses are worth in a different neighborhood.” JA463-464. The

        Sheas’ appraiser testified that borrowers’ “assum[ptions]” of what their “house is




                                                -14-
USCA4 Appeal: 22-2289     Doc: 40        Filed: 06/08/2023     Pg: 24 of 66




        worth” were “irrelevant” to his appraisals. JA441. He said “[i]t didn’t matter to

        [him] one inkling” whether his appraisal corresponded with the BEV. JA444-445. 6

              This testimony confirmed what each appraiser had already certified on each

        appraisal (subject to federal criminal penalties): that the appraisal is based on the

        appraiser’s “own personal, unbiased, and professional analysis”; not “conditioned

        on any agreement or understanding” about what value to return; and prepared “in

        accordance with the requirements of the USPAP issued by the Appraisal Standards

        Board.” E.g., JA266-267. And that is what the actual appraisals show. Nearly half

        the appraisals on class members’ loans (1,360) came in below the borrowers’

        estimates, sometimes (as with the Sheas’) well below. JA1182; JA1188-1236. For

        example, one property was appraised at $234,000 despite an owner’s estimate of

        $600,000. JA1182; JA1225 (Ziedman). In numerous cases, when the appraisal did

        not support the requested amount, Quicken Loans reduced the loan amounts—and

        denied borrowers’ requests for re-appraisals in hopes of getting higher values. See,

        e.g., JA1207 (Bane), JA1234 (Ensminger); JA1244, JA1246; JA1255-1261. For


        6
          The district court stated that the Aligs’ appraiser characterized BEVs as a “tip-off,”
        and this Court appeared to credit that assertion in its previous decision. See Alig,
        990 F.3d at 789. But this assertion is at odds with the record evidence; the appraiser
        answered affirmatively when asked if another appraiser had characterized the BEV
        in that way in another case, see JA455-456, and that other appraiser’s testimony is
        not evidence in this case, much less classwide evidence. Even if it were, on
        Plaintiffs’ motion for summary judgment, any conflicts in evidence must be resolved
        in favor of Defendants.


                                                 -15-
USCA4 Appeal: 22-2289    Doc: 40       Filed: 06/08/2023   Pg: 25 of 66




        example, one couple closed on a $146,700 refinancing on November 10, 2008.

        JA1234 (Ensminger). Their estimated value was $200,000, but the appraiser valued

        the property at $154,000. JA1234 (Ensminger). The borrowers requested a second

        opinion, but Quicken Loans determined that the “comps do not support the value

        needed and ordering a [second appraisal] wouldn’t make sense” and restructured the

        loan to have a lower original principal amount. JA1256-1257.

              The record also demonstrated that, for many loans, the appraisal value itself

        was immaterial to the size of the loan. That is because not all borrowers try to

        maximize their loan amount; many homeowners seeking to refinance have

        significant equity in their homes and borrow only small amounts (perhaps to

        complete a home-improvement project or improve the terms on a relatively small

        remaining loan balance). For example, one class member estimated his home’s

        value at $125,000, and it was appraised at $128,000. But his total loan amount was

        only $25,000. JA1188 (Woodruff). Even if there were some indication that his

        appraisal value was wrong—even, say, by tens of thousands of dollars—it would not

        have affected his loan amount, which was less than 20% of the appraised value.

        Likewise, another class member estimated his home’s value as $250,000. The home

        appraised for $180,000, but his refinance loan was less than 8% of the appraised

        value—just $13,240. JA1188 (Fowler). So too for a couple who estimated their

        home’s value as $215,000. The home appraised for $225,000, but they took out a


                                               -16-
USCA4 Appeal: 22-2289     Doc: 40        Filed: 06/08/2023    Pg: 26 of 66




        refinance loan that was less than 12% of the appraised value—just $26,500. JA1190

        (Shields); see also JA1188 ($129,800 Metz loan, after borrowers estimated their

        home’s value as $475,000 and it appraised for $450,000); JA1188 ($63,000 Stricker

        loan, after borrower estimated her home’s value as $200,000 and it appraised for

        $185,000).

              These loans were not an aberration—of the 2,769 total loans involved in this

        class action, 889 class members took out loans that were less than 70% of the

        appraised value, well below the 80% that is typically allowed for a conventional loan

        without changing the terms. JA1182. For borrowers like this, obtaining an appraisal

        was a necessary precondition to obtaining a loan, but their appraisals could have

        come in at far less and still supported their loan amounts.

              Even if there actually were any evidence that any unnamed class member’s

        appraisal and loan amount were both inflated as a result of an appraiser seeing a

        BEV, Plaintiffs developed no evidence that receiving a higher loan harmed any

        absent class member. To the contrary, class members benefitted from refinancing,

        by paying off debt, consolidating loans, and obtaining lower mortgage interest rates.

        The Sheas are an example: the refinancing allowed them to avoid an approaching

        balloon payment and to pay off a second mortgage loan with a much higher interest

        rate. See p. 11, supra.




                                                -17-
USCA4 Appeal: 22-2289     Doc: 40        Filed: 06/08/2023    Pg: 27 of 66




              Finally, for class members whose properties had been sold or listed in the year

        preceding the loan or refinancing, the appraisal was not used if the sales or listing

        price was lower than the appraised value. In that circumstance, the sales or listing

        price was used instead. JA1249-1251. For properties that had been sold within three

        years prior to the appraisals, the prior sales price was known to the appraiser, and in

        many cases it was evident that this price, not the estimated value, dictated the

        valuation. JA1249-1251, JA1253. For example, one property with a BEV of

        $337,500 had recently sold for $259,000, and the appraisal came in at $259,000.

        JA1192 (Collins-Dalton); JA1253. For these class members, too, the BEV plainly

        could have had no material impact on the appraised value.

              The lack of real-world injury from the statutory violation Plaintiffs alleged

        was also evident from the dearth of class members who sought actual damages,

        which they all had a right to do after judgment on the statutory-damages claim. Only

        two class members besides the Aligs did so (out of nearly 3,000). 7 One class

        member not only declined to pursue actual damages, he opted out of the class after

        summary judgment and declined statutory damages, explaining that “[t]he new loan

        terms saved [him] a significant amount of money,” and it would not be “fair to




        7
         The claims for actual damages were resolved and dismissed by stipulation. JA781-
        782; JA787-788; JA793.


                                                 -18-
USCA4 Appeal: 22-2289     Doc: 40       Filed: 06/08/2023    Pg: 28 of 66




        punish Quicken Loans,” which “had been a pleasure to work with” and “saved [him]

        so much money.” JA645-647.

              Given this record, and in light of the Supreme Court’s decision in Spokeo,

        Defendants moved to decertify the class, arguing that the class improperly included

        many absent class members with no injury and therefore no standing.

              Plaintiffs did not meaningfully dispute any of the facts described above.

        Instead, they maintained that whether class members had suffered any actual damage

        was immaterial because (a) only the named plaintiffs’ standing had to be established,

        and (b) the alleged statutory violation itself was sufficient to establish standing.

        JA669-673. Adopting Plaintiffs’ arguments, the district court refused to decertify

        the class. See JA668-674; JA712-717. The district court awarded each class

        member $3,500 per loan in statutory damages.8 JA760. It also awarded a refund of

        the entire appraisal fee as “restitution” on Plaintiffs’ contract claim. JA738-739.

        The judgment totaled more than $10 million.

        IV.   This Court largely affirms, holding that the mere purchase of an
              appraisal requested through a process in which appraisers were
              “exposed” to BEVs was sufficient to establish Article III injury-in-fact.

              On appeal, Plaintiffs abandoned the standing arguments they had maintained

        in the district court. Instead, they fashioned an entirely new standing theory. They


        8
         At the time, the statute specified a civil penalty of $100 to $1000, but the range
        was indexed for inflation. W. Va. Code §§ 46A-5-101(1), -106 (1996).


                                                -19-
USCA4 Appeal: 22-2289     Doc: 40         Filed: 06/08/2023    Pg: 29 of 66




        argued that the entire class had standing because all class members suffered an “out

        of pocket” injury by paying for appraisals that were “tainted, and therefore

        worthless,” meaning that they that did not get “the benefit of their bargain.” 19-

        1059 Answering Br. 49-51. But because Plaintiffs had taken the position in the

        district court that they need not establish any injury-in-fact for absent class members,

        they had no evidence to support these arguments, let alone classwide evidence.9

              This Court affirmed the district court’s decision certifying the class and

        granting Plaintiffs summary judgment on the WVCCPA claim, but vacated the

        decision granting Plaintiffs summary judgment on the contract claim and remanded

        that claim to the district court. Alig, 990 F.3d at 786.

              Throughout its opinion, this Court acknowledged the lack of evidence that

        Quicken Loans’ appraisal request process caused any classwide injury. The Court

        acknowledged the appraisers’ testimony that BEVs did not influence them. Id. at

        787, 803. The Court also stated that even if BEVs had influenced appraisers “some

        of the time” (id. at 804), there may have been no damages if, “for example,” a

        “borrower’s estimate of value was accurate,” id. at 793, 796. And the Court stated

        that the record was “devoid of evidence” about “whether the appraisals for most

        class members were inflated.” Id. at 803 n.22. The Court also acknowledged that


        9
         Plaintiffs also argued that all class members had suffered an “informational injury,”
        a theory they dropped after TransUnion (which reiterated that an informational
        injury requires proof of some downstream harm from not getting the information).

                                                 -20-
USCA4 Appeal: 22-2289     Doc: 40        Filed: 06/08/2023   Pg: 30 of 66




        refinancing might have benefitted, not harmed, class members. Id. at 792. But it

        nonetheless held that the lack of harm created no barrier to recovery under the

        WVCCPA. Id. at 793, 805.

              The Court also recognized the lack of harm to many class members in

        remanding the contract claim. The Court found a contractual duty to “obtain a fair,

        valid and reasonable appraisal of the property,” but determined that Plaintiffs needed

        to show damages as well as a breach of that duty. Id. at 797-798. It recognized that

        class members might have suffered no damages if their “appraisals would have been

        the same whether or not the appraisers were aware of the borrowers’ estimates of

        value.” Id. at 796.

              The Court nonetheless rejected Defendants’ argument that many class

        members lacked standing.       The Court reasoned that paying money to obtain

        appraisals that were “tainted when [Quicken Loans] exposed the appraisers to the

        borrowers’ estimates of value” was sufficient to establish Article III injury. Id. at

        791-792 & n.9. Thus, even though the borrowers’ estimates may not have affected

        the appraisers or the appraisals at all, the Court held that the appraisers’ potential

        “expos[ure]” to those estimates was enough to establish that paying for the appraisal

        was “financial harm,” giving every class member standing. Id. (citation omitted).

              As for the contract claim, the Court held that Plaintiffs would need to proceed

        on a different theory, and that Plaintiffs had not yet established the necessary


                                                -21-
USCA4 Appeal: 22-2289     Doc: 40       Filed: 06/08/2023   Pg: 31 of 66




        elements of breach or damages. Id. at 797-99 & n.17. It therefore vacated the

        summary judgment and remanded. Id. at 794.

              The Court denied rehearing but, at Defendants’ request, stayed the mandate

        pending certiorari. No. 19-1059, Dkt. No. 122.

        V.    The Supreme Court holds in TransUnion that an unrealized risk of
              future injury does not establish standing to seek money damages and
              GVRs this case for further consideration in light of TransUnion.

              Shortly after this Court stayed the mandate, the Supreme Court issued its

        decision in TransUnion LLC v. Ramirez, 141 S. Ct. 2190 (2021). The Court held

        that in a money-damages case, an unrealized risk of future injury does not satisfy

        Article III. Rather, standing to seek damages must be based on actually experienced

        injury. Id. at 2211.

              Defendants petitioned the Supreme Court for a writ of certiorari. They argued

        that this Court’s decision was irreconcilable with TransUnion. See Petition for Writ

        of Certiorari at 18-22, Rocket Mortgage, LLC v. Alig, No. 21-428 (filed Sept. 17,

        2021). 10 In particular, Defendants contended that this Court’s holding that all

        unnamed class members satisfied Article III’s injury-in-fact requirement because all

        appraisers were “exposed … to the borrowers’ estimates” could not be reconciled

        with TransUnion’s central holding that standing must be based on concrete past



        10
           https://www.supremecourt.gov/DocketPDF/21/21-428/192855/2021091721023
        1767_Rocket%20Mortgage%20Cert%20Petition%20Final.pdf.

                                               -22-
USCA4 Appeal: 22-2289     Doc: 40        Filed: 06/08/2023   Pg: 32 of 66




        injury, not a risk of future injury that goes unrealized. Id. at 16-17. Plaintiffs

        opposed vacatur, insisting that TransUnion had no bearing on their standing.

              The Supreme Court granted certiorari, vacated this Court’s decision, and

        remanded the case for further consideration in light of TransUnion. 142 S. Ct. 748

        (2022).

        VI.   This Court remands to the district court to consider TransUnion’s
              application to this case in the first instance.

              This Court ordered supplemental briefing and held oral argument, which

        focused on the class members’ standing in light of TransUnion. On October 28,

        2022, the Court entered a per curiam decision remanding the case to the district

        court. Alig v. Rocket Mortgage, LLC, 52 F.4th 167.

              In its decision, the Court noted that it had previously concluded that class

        members had standing because they “received appraisals that were tainted when

        Defendants exposed the appraisers to the borrowers’ estimates of value and

        pressured them to reach those values.” Id. at 168 (quotations omitted). The Court

        acknowledged that TransUnion made “clear that, to recover damages from Quicken

        Loans, ‘[e]very class member must have Article III standing’ ‘for each claim that

        they press,’ requiring proof that they ‘suffered concrete harm’ from the challenged

        conduct.” Id. (quoting TransUnion, 141 S. Ct. at 2208). The Court “conclude[d]

        that the district court should apply TransUnion to the facts of this case in the first




                                                -23-
USCA4 Appeal: 22-2289      Doc: 40      Filed: 06/08/2023    Pg: 33 of 66




        instance.     Accordingly, [the Court] vacate[d] and remand[ed] for further

        proceedings.” Id.

        VII. Seven days after receiving this Court’s mandate, the district court holds
             that TransUnion changes nothing and that this Court should “reissue its
             prior opinion.”

                The mandate issued on November 21. Seven days later, without affording the

        parties any opportunity to submit supplemental briefing, the district court issued a

        10-page order purporting to resolve the standing issue.        The court held that

        TransUnion changed nothing, and that all class members have Article III standing

        to sue and collect damages. See JA810-815. The district court repeated verbatim

        portions of the post-TransUnion brief Plaintiffs had submitted to this Court.11

                The district court did not apply the standing principles discussed in

        TransUnion to the factual record, as this Court instructed. Nor did the court

        acknowledge the gap in that factual record that resulted from its prior holdings that

        only named plaintiffs need to show injury and that absent class members had

        standing due to the mere existence of a statutory cause of action. See pp. 20-21,

        supra. Instead, the court simply compared some passages of TransUnion to portions

        of this Court’s vacated, pre-TransUnion opinion. The court concluded that “nothing

        in TransUnion” changed this Court’s prior “findings” on standing.            JA815.

        Consequently, the district court concluded that this Court “should therefore reissue


        11
             Compare JA808-809, with No. 19-1059, ECF 152, at 5-6.

                                                -24-
USCA4 Appeal: 22-2289      Doc: 40        Filed: 06/08/2023    Pg: 34 of 66




        its prior opinion” with the added clarification that TransUnion is irrelevant to this

        case. Id. In other words, the district court effectively remanded the case back to this

        Court.

                 The district court then reinstated its 2018 final judgment, which finally

        certified the class and awarded Plaintiffs classwide statutory damages and

        restitution. JA816-817.

                                     SUMMARY OF ARGUMENT
                 As this Court recognized in remanding this case, the district court never

        examined the record for proof of absent class members’ injury-in-fact because it

        erroneously thought no such proof was required. But the district court again failed

        to do that work on remand. It did not seriously assess the impact of TransUnion or

        identify evidence amounting to classwide proof of injury consistent with

        TransUnion. As the record shows, Plaintiffs have no such evidence. As a result, the

        class must be decertified and the damages award vacated.

                 First, TransUnion forecloses the district court’s conclusion that standing

        somehow exists because some appraisers may have been exposed to borrowers’

        estimates, and that the exposure may have affected the appraisals. TransUnion held

        that a risk of harm is not enough; a plaintiff must show actual injury to satisfy Article

        III. To do so under the summary-judgment standard, Plaintiffs must make that

        showing beyond dispute. And there is no proof of actual injury here. In fact, the



                                                  -25-
USCA4 Appeal: 22-2289     Doc: 40       Filed: 06/08/2023    Pg: 35 of 66




        record shows the opposite: all appraisers who submitted testimony—including

        Plaintiffs’ experts—said they were not affected by borrowers’ estimates. In some

        cases, the appraisers never even saw the estimates. There is no evidence that any

        absent class members’ appraisals were inaccurate. There is no evidence that absent

        class members’ loan sizes were increased as a result of appraisal values—and plenty

        of evidence that, for many loans, any imprecision in the appraisal was demonstrably

        immaterial given the loan size. There also is no evidence that any class members

        were harmed by the refinancing transaction into which they were supposedly

        “induced,” and considerable evidence that they financially benefited from

        refinancing. As a natural result of Plaintiffs’ position below that they were not

        required to establish any harm to absent class members, there is simply no evidence

        that a single absent class member was harmed by Quicken Loans’ process for

        ordering appraisals.

              Second, as courts across the country have repeatedly concluded, Plaintiffs

        cannot circumvent Article III’s injury-in-fact requirement by recasting an unrealized

        risk of harm as a pocketbook injury, and the district court erred in crediting that

        argument. This Court has already held that the expenditure of money for a service

        is not alone enough to establish economic injury to seek damages for a claimed

        statutory violation. See Baehr, 953 F.3d at 257-258. And as extensive precedent

        confirms, the purchase of a product or service that functions as intended and causes


                                                -26-
USCA4 Appeal: 22-2289      Doc: 40        Filed: 06/08/2023     Pg: 36 of 66




        no harm does not confer standing to sue over alleged process failures. Rather,

        purchasers must provide evidence that the product they bought actually was

        defective or worth less than they paid, rather than simply offer conjecture or label

        the product “tainted” or “worthless,” as Plaintiffs do here. The district court

        therefore erred when it held that the entire class suffered a “financial harm.”

              Because Plaintiffs have no viable theory of Article III injury suffered by

        absent class members, this Court must both vacate the damages award and direct the

        district court to decertify the class. A federal court lacks jurisdiction to award

        damages to uninjured plaintiffs, and using the class-action device to do so violates

        Article III and the Rules Enabling Act.

              As the Court permitted, Defendants incorporate their prior arguments on

        summary judgment, damages, and class certification.

                                     STANDARD OF REVIEW
              Class certification is reviewed for abuse of discretion. EQT Prod. Co. v.

        Adair, 764 F.3d 347, 357 (4th Cir. 2014). A district court abuses its discretion when

        it “materially misapplies the requirements of Rule 23,” id., or “when it makes an

        error of law or clearly errs in its factual findings.” Thorn v. Jefferson-Pilot Life Ins.,

        445 F.3d 311, 317 (4th Cir. 2006). Summary judgment and “legal questions

        concerning standing” are reviewed de novo. Dreher v. Experian Info. Sols., 856

        F.3d 337, 343 (4th Cir. 2017).



                                                  -27-
USCA4 Appeal: 22-2289     Doc: 40        Filed: 06/08/2023   Pg: 37 of 66




                                            ARGUMENT

        I.    TransUnion makes clear that exposure to the risk of an inaccurate
              appraisal is not cognizable injury under Article III.

              Plaintiffs have premised their claims on the theory that Defendants sought to

        “influence” appraisers to provide “inflated” appraisal numbers, which in turn risked

        borrowers entering into larger refinance loans than they would otherwise qualify

        for. See, e.g., 19-1059 Answering Br. 10, 18, 19, 39-40, 50-51. Plaintiffs claim that

        this “can leave buyers ‘upside down’—owing more than the property is worth” and

        therefore “trapped, unable to refinance to obtain better terms or sell [the] home to

        relocate,” sometimes resulting in “foreclosure.” Id. at 7-8 (citations omitted). But

        Plaintiffs were unable to deliver any facts showing that appraisals were actually

        inflated as a result of sharing borrowers’ estimates, or that any borrowers were

        actually left “upside down” and trapped, unable to refinance, unable to sell, or

        foreclosed upon as a result. So Plaintiffs contend that they have standing because

        they received “worthless” and “meaningless” appraisals—and that their appraisals

        were “worthless” and “meaningless” solely because appraisal companies were

        exposed to information that created a risk that appraisals could be inaccurate. E.g.,

        No. 19-1059, Dkt. No. 111, at 13.

              This Court credited this argument in its original decision, effectively holding

        that because borrowers had paid for the appraisals, the appraisers’ mere “expos[ure]”

        to BEVs satisfied Article III, without requiring proof of any effect on the appraisers


                                                -28-
USCA4 Appeal: 22-2289     Doc: 40         Filed: 06/08/2023   Pg: 38 of 66




        or the appraisals. Alig, 990 F.3d at 791-92. The district court adopted that exact

        reasoning on remand. See JA813-814. But this theory of harm was and remains

        irreconcilable with TransUnion.

              A. The plaintiff class in TransUnion sued under the Fair Credit Reporting

        Act, alleging failure “to use reasonable procedures to ensure the accuracy of their

        credit files.” 141 S. Ct. at 2200. All 8,185 class members had information in their

        TransUnion credit files wrongly suggesting that they might be on a watch list of

        national-security threats.   But for 6,332 of the class members, TransUnion

        apparently did not send the misleading credit reports to any potential creditors during

        the class period. Id. at 2200-2202, 2209-2210. The Ninth Circuit upheld class

        certification, ruling that all 8,185 class members had standing, and the Supreme

        Court reversed.

              The Supreme Court held that the 6,332 class members for whom TransUnion

        did not send misleading credit reports lacked standing to recover statutory damages

        for TransUnion’s procedural violation. Id. at 2214. The plaintiffs contended that

        these class members had standing because they were “exposed … to a material risk

        that the information would be disseminated … and [would] thereby cause them

        harm”; indeed, they claimed “that TransUnion could have divulged their misleading

        credit information to a third party at any moment.” Id. at 2210, 2212. The Court

        rejected that argument, holding that standing to seek damages—as opposed to an


                                                 -29-
USCA4 Appeal: 22-2289     Doc: 40        Filed: 06/08/2023     Pg: 39 of 66




        injunction—cannot be based on a risk of harm that never materialized. Id. at 2210-

        2211. The Court noted that sometimes exposure to risk will itself cause injury, such

        as emotional distress. Id. at 2211. But a plaintiff cannot claim injury from the never-

        realized risk “when the plaintiff did not even know that there was a risk of future

        harm.” Id. at 2212. As the Court explained, someone who drives home near a

        recklessly swerving motorist faces a risk of harm. But if she arrives safely at home

        without incident—the risk of harm never having materialized—she has no standing

        to sue the dangerous driver for damages. Id. at 2211. The Court held that the 6,332

        class members were like the driver who arrived at home safely: they were not injured

        by exposure to risk and had no standing. Id.

              B. Plaintiffs’ claims in this case are strikingly similar to those of the uninjured

        plaintiffs in TransUnion. Plaintiffs have repeatedly argued that class members

        suffered injury because Quicken Loans used procedures for ordering appraisals that

        created a risk that the appraisals would be inaccurate. Plaintiffs have argued that

        “[t]here is no way to know for sure how a particular appraiser was (perhaps

        unconsciously) influenced by an estimated value,” but that “[t]he mere possibility”

        that the appraiser may have been influenced is sufficient to show Article III injury.

        No. 19-1059, Dkt. No. 111, at 13. In its original decision, the panel credited this

        argument, holding that by “expos[ing]” appraisers to borrowers’ estimates without

        specifically disclosing the practice to borrowers, Quicken Loans “tainted the


                                                 -30-
USCA4 Appeal: 22-2289    Doc: 40        Filed: 06/08/2023   Pg: 40 of 66




        appraisal process.” Alig, 990 F.3d at 791-792, 798. The Court also later noted the

        “risks” that “an inflated home value pose[s]” to borrowers and lenders. Id. at 806.

        The district court quoted the same reasoning on remand, repeating this Court’s

        statement that the “appraisals were tainted when Defendants exposed the appraisers

        to the borrowers’ estimates of value.” JA813. But the same could have been said in

        TransUnion: the credit file was “tainted” and could lead to harm, if the credit file

        were actually disseminated.

              Moreover, like the uninjured plaintiffs in TransUnion, Plaintiffs had no

        evidence that any of these “risks” actually materialized for any unnamed class

        members, much less all of them. Every appraiser denied being influenced by

        borrowers’ estimates. See pp. 14-16, supra. Some did not even see the borrower’s

        estimate before performing an appraisal. JA1270; JA1277-1278. And nearly half

        of the appraisals came in below the borrower’s estimate—sometimes well below.

        JA1182; JA1188-1236.

              This Court assumed that at least “some of the time” appraisers could have

        been “subconsciously” influenced “without [their] realization.” Alig, 990 F.3d at

        804, 806. But there was (and remains) no evidence in the record to support such an

        assumption. Indeed, this Court also acknowledged that the record was “devoid of

        evidence” about the actual home values for absent class members. Id. at 803 n.22.

        It also recognized, in remanding the contract claim, that even if some appraisers


                                               -31-
USCA4 Appeal: 22-2289    Doc: 40        Filed: 06/08/2023   Pg: 41 of 66




        treated borrowers’ estimates as targets, that would cause no harm to borrowers if

        their “appraisals would have been the same whether or not the appraisers were aware

        of the borrowers’ estimates of value—which one might expect, for example, if a

        borrower’s estimate of value was accurate.” Id. at 793, 796. Plaintiffs offered a

        (disputed) retrospective appraisal for the Aligs’ home, but failed to offer similar

        evidence as to any unnamed class member’s home. They made no attempt to show

        that any unnamed class member’s appraisal was even inaccurate, much less that the

        inaccuracy was caused by the BEV—presumably because they recognize that

        relying on such individualized evidence would preclude class certification.

              And for many borrowers, the accuracy of the appraisal was wholly immaterial

        to the loan and the loan amount. More than 30% of the class consisted of borrowers

        whose loans were less than 70% of their appraised value—some borrowed less than

        $30,000 even though their home was worth five or ten times that amount. See, e.g.,

        JA1188-1190 (Rows 7, 31, 38, 55, 58, 65, 91, 110, 119, 124); see also, e.g., JA1188-

        1190 (Rows 1, 57, 112, 113, 122), JA1215-1218 (Rows 1566, 1573, 1641, 1687,

        1731), JA1221 (Row 1928), JA1223 (Row 2022) (additional examples of borrowers

        who borrowed significantly less than the appraised value); p. 17, supra. For these

        borrowers, an inflated appraisal could not have had any impact on their loan amount,

        nor could it have resulted in them being “upside down” on their mortgage.




                                               -32-
USCA4 Appeal: 22-2289      Doc: 40        Filed: 06/08/2023     Pg: 42 of 66




              Moreover, even if there were evidence that BEVs did influence some

        appraisers, that some appraisal values were inflated, and that those inflated

        appraisals inflated some loan amounts, there is no evidence that any economic harm

        actually materialized for any absent class member. Plaintiffs have no evidence of

        any absent class member who was unable to sell or refinance because she was

        “upside down” on her mortgage. The Sheas, for example, sold their home for a value

        above the 2008 appraisal. JA336.

              In short, there is no evidence that the appraisals in this case were inflated or

        inaccurate, nor is there any evidence that an inaccurate appraisal caused a borrower

        any harm. At most, there was merely a risk that including BEVs on appraisal order

        forms could influence appraisal values; there is no evidence that any such risk ever

        became a reality for any class member. And TransUnion confirms that a past risk

        of harm is not enough for standing to seek damages. Here, nobody was hit by the

        equivalent of TransUnion’s swerving motorist. 141 S. Ct. at 2211. TransUnion thus

        requires this Court to reject Plaintiffs’ theory of Article III injury.

        II.   The district court erred in holding that every plaintiff suffered a
              “pocketbook injury” based on the mere purchase of an appraisal that
              caused no harm.
              Plaintiffs have offered two arguments for why TransUnion is irrelevant. First,

        they say, they paid money for appraisal services, whereas the plaintiffs in

        TransUnion “didn’t pay any money at all,” and so, they argue, they have a



                                                  -33-
USCA4 Appeal: 22-2289     Doc: 40        Filed: 06/08/2023   Pg: 43 of 66




        pocketbook injury that did not exist in TransUnion. No. 19-1059, Dkt. No. 152, at

        10. Second, they argue that the payment of an appraisal fee for an appraisal that was

        “worthless” constitutes the economic harm of “paying for a service they never

        received.” Id.

              The first argument is a nonstarter. This Court has already held that the mere

        expenditure of money for services actually rendered is “insufficient for Article III

        standing.”   Baehr, 953 F.3d at 258.       And the second argument is factually

        unsupported. While economic injury is, of course, a “paradigmatic form of injury

        in fact,” JA814, it is well-settled that plaintiffs who wish to claim economic injury

        from the purchase of a supposedly “worthless” product must demonstrate with

        evidence that the product actually was “worthless” as to them. Simply labeling a

        product worthless is not enough. But that is all Plaintiffs have done here.

              A.     Plaintiffs cannot distinguish TransUnion by pointing to the class

        members’ payment of appraisal fees. As this Court has already held, paying money

        for services actually provided, even if allegedly “in contravention” of statutory

        requirements, is “insufficient for Article III standing.” Baehr, 953 F.3d at 258.

              Baehr involved plaintiffs who could establish a technical violation of the law

        but no injury to themselves. There, the plaintiffs were seeking statutory damages

        for alleged violations of the Real Estate Settlement Procedures Act (RESPA), which

        prohibits giving or receiving money in exchange for referring homebuyers to


                                                -34-
USCA4 Appeal: 22-2289     Doc: 40         Filed: 06/08/2023    Pg: 44 of 66




        settlement service providers. Id. at 254. The Baehr plaintiffs, who paid a title

        company for settlement services, alleged that their real estate brokerage firm and

        title company engaged in a “kickback scheme” that violated that provision. They

        did not, however, allege that the scheme caused them any financial injury—e.g., that

        there was anything wrong with the settlement services they received or that they

        were overcharged for those services. Instead, they argued that they had concrete

        injury simply because they paid money for settlement services provided “in

        contravention of RESPA.” Id. at 255-258.

              This Court rejected plaintiffs’ payment-equals-standing argument, holding

        that their harm “reduces to the type of ‘bare procedural violation’” that is insufficient

        to establish Article III standing. Id. at 258 (citation omitted). As the Court

        explained, “[t]he Baehrs received settlement services for which they paid a

        reasonable rate.” Id. Thus, their claim of economic injury from paying money for

        services that they actually received was not sufficient to establish an economic

        injury.12

              Baehr forecloses any argument by Plaintiffs that the mere payment of an

        appraisal fee is sufficient to render TransUnion inapplicable. The class members all

        received appraisal services; paying for those services does not establish economic


        12
          The Baehrs also contended that they “were deprived of an impartial and fair
        competition” for settlement service providers, but this Court rejected that theory
        because the record was “devoid of evidence” to substantiate it. 953 F.3d at 258.

                                                  -35-
USCA4 Appeal: 22-2289     Doc: 40       Filed: 06/08/2023    Pg: 45 of 66




        injury-in-fact. Plaintiffs’ WVCCPA claim, much like the Baehr plaintiffs’ RESPA

        claim, “reduces to the type of ‘bare procedural violation’” that is “insufficient for

        Article III standing.” Id.

              B.     The district court tried to distinguish TransUnion by holding that this

        case involves the purchase of a “tainted” appraisal—not just a risk of future injury.

        See JA809, JA814. But this “financial harm” theory is question-begging. It is

        premised on the unsupported assumption that because a step in the appraisal-

        ordering process—sharing BEVs with appraisal companies—could result in an

        inaccurate appraisal, it necessarily ruined every appraisal across the class.

        Respondents’ Brief in Opposition at 8, Alig, No. 21-428 (U.S. filed Dec. 8, 2021)

        (“[B]ecause Rocket tried to influence the result, what [Plaintiffs] got could not be

        trusted as an impartial measure of home value.”). That assumption is spurious.

        Every appraisal served the stated purpose—supporting the refinance loan. In some

        cases, appraisals led Quicken Loans to lend less money than the borrower had

        wanted. See pp. 15-16, supra. For many class members, the precise accuracy of the

        appraisal was not even material to the loan decision, because the loan value was such

        a small percentage of the home value. See pp. 16-17, supra. And there is no

        evidence that unnamed class members subjectively distrusted their appraisals or

        refused to rely on them.




                                                -36-
USCA4 Appeal: 22-2289     Doc: 40        Filed: 06/08/2023     Pg: 46 of 66




              This Court acknowledged that many appraisals may have been entirely

        accurate—if borrowers’ estimates were accurate or did not actually influence

        appraisers. Alig, 990 F.3d at 793, 796. And some appraisers concededly did not

        even see the estimates that were transmitted to their appraisal companies. JA1270;

        JA1277-1278. 13 Put simply, there is no evidence that exposure to BEVs actually

        rendered any absent class member’s appraisal inaccurate. Indeed, throughout the

        class period, USPAP recognized that appraisers could learn the borrower’s BEV

        without violating the appraiser’s duty to render an impartial appraisal. JA321.

        Plaintiffs cannot backfill the evidentiary void by simply labeling the appraisals

        “tainted.”

              Indeed, Baehr recognizes that simply labeling a product or service unfair or

        invalid is not enough to demonstrate a “real-world harm, much less a concrete

        injury.” 953 F.3d at 256. The Baehr plaintiffs alleged that the defendants’ kickback

        scheme “deprived [them] of impartial and fair competition among settlement

        services providers.” Id. at 255. This Court did not simply take their word for it and



        13
           Plaintiffs have claimed that the influence on appraisers is “[i]nevitabl[e],” relying
        on a theoretical “anchoring effect.” 19-1059 Answering Br. 10-11; No. 19-1059,
        Dkt. No. 152, at 6. However, they have never cited any record evidence in support
        of this contention, because there is none. See 19-1059 Answering Br. 11-12 (citing
        law review articles). They did not even cite in the trial court the same sources they
        cite on appeal. Indeed, estimates that no appraisers ever even saw could not possibly
        have acted as an “anchor.”


                                                 -37-
USCA4 Appeal: 22-2289     Doc: 40        Filed: 06/08/2023   Pg: 47 of 66




        accept these characterizations as evidence—instead, the Court examined whether

        those contentions were supported with evidence. But the record was “devoid of

        evidence” to support their theory.

              Other courts have taken a similar approach—rejecting attempts to sue over a

        product that could have caused harm, but in fact did not, by claiming present-day

        “financial” or “economic” injury from having bought the product. As the Third

        Circuit succinctly put it, combining “a conclusory assertion of money lost with a

        request that a defendant pay up … doesn’t suffice.” Thorne v. Pep Boys Manny Moe

        & Jack Inc., 980 F.3d 879, 886 (3d Cir. 2020) (citation omitted). There, the

        defendant tire dealer allegedly failed to help register customers’ new tires with the

        manufacturer, as required by federal law. Id. at 883. But that procedural failure

        caused Thorne no injury, so she tried to “characterize[] her tire purchase as an

        economic injury” to satisfy Article III. The Third Circuit rejected that argument. In

        substance, Thorne was alleging potential harm based on “uncertain future events”:

        if there were a manufacturing defect, and if the manufacturer contacted registered

        customers, then the manufacturer’s inability to contact her could lead to her

        continuing to drive on recalled tires, which could lead to a crash. Id. at 886-887,

        893. But those “uncertain future events do not make her Pep Boys tires worth less

        at the time of purchase than equivalent registered tires.” Id. at 887. Just because

        Thorne paid for the tires does not mean that the dealer’s procedural failure to follow


                                                -38-
USCA4 Appeal: 22-2289       Doc: 40        Filed: 06/08/2023    Pg: 48 of 66




        the registration requirement was an economic injury. It was Thorne’s burden to

        show some impact on the price other than “pure conjecture.” Id. (citation omitted).

                 Plaintiffs have suggested that these economic-injury cases are limited to a few

        “marginal” opinions authored by one judge. No. 19-1059, 9/13/2022 Oral Arg.

        34:55-36:10. That is wrong. This same theory of “economic” injury has been

        rejected by courts across the country, in cases involving purchases of allegedly

        defective baby powder that could lead to an increased risk of cancer, 14 allegedly

        defective popcorn that contained ingredients that could increase the risk of heart

        disease,15 an allegedly defective drug that could cause liver damage if taken

        incorrectly, 16 and an allegedly defective medical device that could produce

        inaccurate results in some situations, just to name a few. 17 In each of those cases,

        the consumers who brought suit did not claim that the product had actually been

        defective as to them or had caused them any injury. To the contrary, they claimed

        that even if they had already successfully used the product and it had operated as

        intended and caused them no harm, they had “economic” or “financial” standing


        14
          In re Johnson & Johnson Talcum Powder Prods. Litig., 903 F.3d 278, 290-91 (3d
        Cir. 2018).
        15
             McGee v. S-L Snacks Nat’l, 982 F.3d 700, 709-10 (9th Cir. 2020).
        16
             Rivera v. Wyeth-Ayerst Lab’ys, 283 F.3d 315, 316-317 (5th Cir. 2002).
        17
          Shields v. Alere Home Monitoring, Inc., 2015 WL 7272672, at *1 (N.D. Cal. Nov.
        18, 2015).


                                                   -39-
USCA4 Appeal: 22-2289     Doc: 40         Filed: 06/08/2023    Pg: 49 of 66




        because the potential defect itself rendered their product “worthless” or “valueless”

        (or worth less than they had paid for it). See Johnson & Johnson, 903 F.3d at 290;

        McGee, 982 F.3d at 705; Rivera, 283 F.3d at 320; Shields, 2015 WL 7272672, at *3.

              The universe of cases reaching this correct conclusion has only expanded

        since this Court last heard this case, with even more courts rejecting unsupported

        theories and labels like “worthless” in favor of requiring actual evidence of harm,

        often while citing TransUnion’s prohibition on speculative claims of injury arising

        from an unmaterialized risk of harm. For example, the Eastern District of Virginia

        recently rejected a theory of economic injury premised solely on the “purchase of a

        product” that the plaintiffs proclaimed was “‘worthless or worth less’ than the

        purchase price” “not because they failed to perform as intended or were otherwise

        defective, but because they contained or were at risk of containing Heavy Metals”—

        an economic-injury theory that the court held was, at bottom, impermissibly

        premised on “a threat of future harm.” In re Gerber Prod. Co. Heavy Metals Baby

        Food Litig., 2022 WL 10197651, at *5 (E.D. Va. Oct. 17, 2022); see also Dozier v.

        Walmart Inc., 2021 WL 1534973, at *1, *5 (C.D. Cal. Mar. 5, 2021) (rejecting

        assertion that tire retailer’s statutory violation rendered plaintiff’s tires “inherently

        defective” and therefore “worth less than what he paid”); Bowen v. Energizer

        Holdings, Inc., 2023 WL 1786731, at *7, *9 (C.D. Cal. Jan. 5, 2023) (“[A]n

        economic harm premised on speculative risks cannot establish Article III


                                                  -40-
USCA4 Appeal: 22-2289     Doc: 40        Filed: 06/08/2023     Pg: 50 of 66




        standing.”); In re Plum Baby Food Litig., 2022 WL 16552786, at *8 (D.N.J. Oct. 31,

        2022) (“Without the factual support of adverse health consequences or plausible

        allegations of future risk, Plaintiffs cannot assert that the products are valueless.”);

        Huertas v. Bayer U.S., LLC, 2022 WL 3572818, at *6 (D.N.J. Aug. 19, 2022)

        (“Plaintiffs do not allege that the Products did not work as intended ….; thus

        Plaintiffs have not demonstrated cognizable economic harm, and their allegation of

        the ‘worthless’ Products amounts to speculative loss.”).

              An uninjured plaintiff cannot sue for statutory damages in federal court by

        simply asserting “economic” or “financial” or “pocketbook” injury from purchasing

        a product or service.18 “[I]n order to seek monetary damages” based on the purchase

        of a product that caused no harm and functioned as intended, a plaintiff must “do

        more than simply characterize her purchases as economic injuries.” Johnson &

        Johnson, 903 F.3d at 291.19


        18
           See Rivera, 283 F.3d at 319 (rejecting “economic injury” theory, because merely
        asking for “money back” from purchasing an allegedly defective drug that
        performed as intended and caused no harm “does not establish an injury in fact”);
        McGee, 982 F.3d at 706-707 (similar); Shields, 2015 WL 7272672, at *5 (no
        standing despite plaintiff describing as “worthless” allegedly defective product that
        “may produce inaccurate results in some situations” but did not malfunction or cause
        plaintiff any harm).
        19
          See, e.g., Smith v. Catamaran Health Sols., LLC, 205 F. Supp. 3d 699, 702-703
        (D.S.C. 2016) (labeling insurance policy “worthless” was insufficient to establish
        concrete injury-in-fact, where insurer never denied coverage and plaintiffs never
        made claim under policy); Williams v. Purdue Pharma Co., 297 F. Supp. 2d 171,


                                                 -41-
USCA4 Appeal: 22-2289     Doc: 40        Filed: 06/08/2023   Pg: 51 of 66




              Instead, claims of “economic injury” must be based on evidence (or, at the

        pleading stage, specific allegations) that the product actually was less valuable as a

        result of a defect or the defendants’ unlawful conduct. Compare Cahen v. Toyota

        Motor Corp., 717 F. App’x 720, 723-724 (9th Cir. 2017) (plaintiffs did not establish

        “economic injury” to complain that vehicles’ security systems made owners more

        vulnerable to hacking, because “overpay[ment]” theory was “conclusory and

        unsupported by any facts,” such as “a demonstrable effect on the market for their

        specific vehicles”), and Flynn v. FCA US LLC, 2020 WL 1492687, at *3, *5 (S.D.

        Ill. Mar. 27, 2020) (without actual evidence that vehicles were “worth substantially

        less” than what plaintiffs paid, plaintiffs could not establish standing based on

        supposed “economic” harm theory), with Maya v. Centex Corp., 658 F.3d 1060,

        1064-1065 (9th Cir. 2011) (homeowners had standing to challenge builder’s

        misrepresentations that allegedly caused high-risk buyers to purchase homes at

        inflated prices, ultimately resulting in foreclosures and loss in value of plaintiffs’

        neighboring homes).



        172-173 (D.D.C. 2003) (rejecting contention that plaintiffs established economic
        injury from mere drug purchase when they “personally suffered no ill effects or lack
        of efficacy”); Doss v. Gen. Mills, Inc., 816 F. App’x 312, 314 (11th Cir. 2020)
        (rejecting economic-injury theory based on assertion that potential presence of
        glyphosate rendered Cheerios “valueless”); In re Fruit Juice Prod. Litig., 831 F.
        Supp. 2d 507, 510, 512 (D. Mass. 2011) (rejecting economic-injury theory based on
        purchase of juice that was consumed and caused no harm despite assertion that
        products were “valueless” given potential presence of lead).


                                                -42-
USCA4 Appeal: 22-2289     Doc: 40         Filed: 06/08/2023    Pg: 52 of 66




              For example, Debernardis v. IQ Formulations, LLC, 942 F.3d 1076 (11th Cir.

        2019), involved dietary supplements that were allegedly considered “adulterated”

        because the manufacturer had failed to provide the FDA with appropriate premarket

        notices. Id. at 1082. The court accepted “at the motion to dismiss stage” that the

        plaintiffs had plausibly alleged an “economic injury” under a theory that purchase

        of a product with significant defects that has virtually no value is a cognizable injury.

        Id. at 1084-1085. But as Judge Sutton explained in his concurrence, given the

        plaintiffs’ failure to allege any “traditional injuries from buying or using” the dietary

        supplements—such as allegations “that the products made them sick or did not work

        as advertised”—merely labeling the product “worthless” would not suffice at later

        stages in the litigation. Id. at 1090. “At summary judgment, each claimant will need

        evidence to back the point up. Why was the product worthless to each of them? …

        The answers to these questions and others will determine whether the case may

        proceed further and, if so, how.” Id.

              In short, simply labeling a product “worthless” or “valueless” or

        “meaningless,” as Plaintiffs tried to do for the appraisals here, is not sufficient to

        establish economic injury from its purchase, when the product performs as intended

        and causes no harm. And at the summary-judgment stage and later phases of

        litigation, mere allegations (however well-pleaded) that a purchased product is

        “worthless” will not establish injury-in-fact under Article III—there must actually


                                                  -43-
USCA4 Appeal: 22-2289     Doc: 40         Filed: 06/08/2023    Pg: 53 of 66




        be “evidence to back the point up.” Id. Here, Plaintiffs offered no evidence that

        sharing BEVs actually rendered absent class members’ appraisals worthless or less

        valuable or that the appraisals did not function as intended. The reason is simple:

        they could not. The appraisals accomplished exactly what they were supposed to—

        they complied with USPAP and therefore enabled the refinance that each class

        member sought and received as a matter of West Virginia law. See W. Va. Code

        § 31-17-8(m)(8). And while Plaintiffs have argued that “[t]o obtain the independent

        appraisal they expected, they would have had” to “[b]uy a new one,” that argument

        does not establish economic injury either—Plaintiffs have provided no evidence that

        even a single absent class member purchased another appraisal (which would have

        been a strange thing to do after already securing the refinance that the original

        appraisal was obtained to facilitate). “[U]nperformed tasks” that would have cost

        money if they had been performed cannot support concrete “pecuniary” injuries that

        “actually exist.” Dozier, 2021 WL 1534973, at *4.

              As the Third Circuit framed the issue in Johnson & Johnson, “Has a

        plaintiff—who has entirely consumed a product that has functioned for her as

        expected—suffered an economic injury solely because she now sincerely wishes that

        she had not purchased that product?” 903 F.3d at 280. The answer was a resounding

        no—“buyer’s remorse, without more, is not a cognizable injury under Article III.”

        Id. at 281. Here, Plaintiffs offer even less. Even if Plaintiffs could establish that the


                                                  -44-
USCA4 Appeal: 22-2289     Doc: 40         Filed: 06/08/2023    Pg: 54 of 66




        appraisals were obtained for the borrowers’ benefit at all, as opposed to the lender’s,

        there is no evidence that the borrowers did not get what they paid for. Absent class

        members “entirely consumed” the appraisals they purchased, along with the benefits

        that those appraisals afforded them (a refinanced loan). Not one class member has

        even suggested (let alone offered any evidence) that she would have forgone

        refinancing or been able to pay less for her appraisal had she known of petitioners’

        BEV-sharing practice. To the contrary, the only record evidence on the point favors

        Defendants: one borrower stated, in opting-out of the class, that he would have

        proceeded with his refinance loan regardless, because he wanted the benefits it

        provided. JA645-647.

        III.   The district court’s recharacterization of this case as a “fraud” case
               does not establish constitutional injury.
               At the very end of its short decision, the district court stated that Defendants’

        appraisal-ordering procedures amounted to “fraud, which is a close historical or

        common-law analogue for their asserted injury.” JA814 (citation omitted). Not only

        is the factual premise wildly inaccurate—Plaintiffs do not even claim fraud—the

        court appears to have misunderstood the relevant inquiry for standing purposes. The

        reference to “historical or common-law analogue[s]” in TransUnion does not ask

        whether a statutory cause of action has an analogue in a common-law cause of

        action. It asks whether a statutory-damages plaintiff has offered an “asserted injury”




                                                 -45-
USCA4 Appeal: 22-2289     Doc: 40        Filed: 06/08/2023    Pg: 55 of 66




        that would have historically provided “a basis for a lawsuit in American courts.”

        141 S. Ct. at 2204.

               That is demonstrably not the situation here. A fraud plaintiff must establish

        detrimental reliance and pecuniary damages. See Restatement (Second) of Torts §

        525 (1977); White v. Nat’l Steel Corp., 938 F.2d 474, 490 (4th Cir. 1991). But

        Plaintiffs have pointed to no such thing—no doubt because it would be impossible

        on a classwide basis. See Gunnells v. Healthplan Servs., Inc., 348 F.3d 417, 435

        (4th Cir. 2003) (reliance is “not readily susceptible to class-wide proof”); Thorn v.

        Jefferson-Pilot Life Ins., 445 F.3d 311, 321 (4th Cir. 2006) (“[I]ndividual hearings

        are required.”). Recharacterizing Plaintiffs’ claims as “fraud” cannot give them a

        constitutionally adequate injury-in-fact, and Plaintiffs themselves do not try that

        gambit. The district court’s judgment cannot be sustained on this basis.

        IV.    Because Plaintiffs did not establish actual injury to any absent class
               members, the class must be decertified and the damages award vacated.

               The district court awarded $10 million in damages to absent class members

        who suffered no harm at all. This Court must vacate the damages award and reverse

        the district court’s decision certifying the class, because a class cannot be certified

        and damages cannot be awarded on a classwide basis where a large number of absent

        class members—here, thousands of absent class members—established no Article

        III injury.




                                                 -46-
USCA4 Appeal: 22-2289     Doc: 40        Filed: 06/08/2023     Pg: 56 of 66




              A plaintiff who lacks standing can receive no relief in federal court. And

        because the elements of standing—injury, causation, and redressability—“are not

        mere pleading requirements but rather an indispensable part of the plaintiff’s case,

        each element must be supported in the same way as any other matter on which the

        plaintiff bears the burden of proof, i.e., with the manner and degree of evidence

        required at the successive stages of the litigation.” Lujan v. Defs. of Wildlife, 504

        U.S. 555, 561 (1992).

              These fundamental rules apply equally to class actions. The Supreme Court

        has held that, whether “in individual or class actions,” Article III limits “the role of

        courts to provid[ing] relief to claimants … who have suffered, or will imminently

        suffer, actual harm.” Lewis v. Casey, 518 U.S. 343, 349 (1996). Accordingly,

        plaintiffs who cannot win relief in “individual … actions” likewise cannot win relief

        in “class actions.” Id.; accord TransUnion, 141 S. Ct. at 2208 (“Every class member

        must have Article III standing in order to recover individual damages”).

              This Court has similarly called it “axiomatic that the procedural device of Rule

        23 cannot be allowed to expand the substance of the claims of class members”:

        under the Rules Enabling Act, 28 U.S.C. § 2072(b), the procedural provisions of

        Rule 23 cannot “enlarge or modify” any “substantive right[s],” so they cannot confer

        standing where it is missing or allow a monetary recovery that would otherwise be

        unavailable. Broussard v. Meineke Discount Muffler Shops, Inc., 155 F.3d 331, 345


                                                 -47-
USCA4 Appeal: 22-2289     Doc: 40        Filed: 06/08/2023    Pg: 57 of 66




        (4th Cir. 1998). Thus, at a minimum, a final judgment awarding money damages to

        uninjured class members must be reversed on that basis alone. See, e.g., Cordoba v.

        DIRECTV, LLC, 942 F.3d 1259, 1274 (11th Cir. 2019) (courts must “determine

        whether each of the absent class members has standing before they could be granted

        any relief.”); In re Nexium Antitrust Litig., 777 F.3d 9, 19-21, 32 (1st Cir. 2015)

        (requiring that district court “distinguish[] the injured from the uninjured class

        members” prior to judgment).

              Class members’ lack of standing is also a bar to certification in the first place.

        As the Second Circuit has held, “no class may be certified that contains members

        lacking Article III standing.” Denney v. Deutsche Bank AG, 443 F.3d 253, 264 (2d

        Cir. 2006). So too in the Eighth Circuit. See Avritt v. Reliastar Life Ins., 615 F.3d

        1023, 1034 (8th Cir. 2010) (“[A] class cannot be certified if it contains members

        who lack standing …. Or, to put it another way, a named plaintiff cannot represent

        a class of persons who lack the ability to bring a suit themselves.”); Johannessohn

        v. Polaris Indus. Inc., 9 F.4th 981, 987-988 (8th Cir. 2021).20 Other courts have

        reached the same conclusion as a matter of Rule 23, holding that “a properly



        20
           The Fifth Circuit, which has not yet settled on a position, recently noted the
        significance of the rule the Second and Eighth Circuits follow. See Flecha v.
        Medicredit, Inc., 946 F.3d 762, 768 (5th Cir. 2020); id. at 770-771 (Oldham, J.,
        concurring) (arguing that fact that “countless unnamed class members lack standing”
        requires reversal of class certification under Article III) (brackets omitted).


                                                 -48-
USCA4 Appeal: 22-2289     Doc: 40         Filed: 06/08/2023    Pg: 58 of 66




        formulated Rule 23 class should not raise standing issues.” Neale v. Volvo Cars of

        N. Am., LLC, 794 F.3d 353, 368 (3d Cir. 2015) (directing courts to resolve issue of

        uninjured class members winning relief through Rule 23, not Article III); accord,

        e.g., Branch v. GEICO, 323 F.R.D. 539, 551-552 & n.9 (E.D. Va. 2018) (finding no

        need to “resolve the separate question of whether [plaintiff] has violated the Rules

        Enabling Act,” because Article III standing problem “prevent[s] [plaintiff] from

        satisfying the predominance requirement”).

              While a few courts have allowed a class to proceed where some absent class

        members lack standing, even those courts have balked where, as here, all or a large

        number of absent class members lack standing. For example, the Seventh Circuit

        has held that “a class should not be certified if it is apparent that it contains a great

        many persons who have suffered no injury.”             Messner v. Northshore Univ.

        HealthSystem, 669 F.3d 802, 825 (7th Cir. 2012) (citation omitted). Accord, e.g.,

        Cordoba, 942 F.3d at 1275-1276.21



        21
           The Ninth Circuit recently declined to hold categorically that a class “that
        potentially includes more than a de minimis number of uninjured class members”
        may never be certified. Olean Wholesale Grocery Coop., Inc. v. Bumble Bee Foods
        LLC, 31 F.4th 651, 669 (9th Cir. 2022) (en banc). The court acknowledged,
        however, that Rule 23 “requires that the court determine whether individualized
        inquiries” into “the injury status of class members” “would predominate over
        common questions.” Id. at 668-69 & n.12 (citing TransUnion and Cordoba). The
        court concluded that all class members had demonstrated standing, at least at the
        certification stage. Id. at 682.


                                                  -49-
USCA4 Appeal: 22-2289     Doc: 40       Filed: 06/08/2023    Pg: 59 of 66




              Under any of these approaches, the class here must be decertified. Plaintiffs

        were required to prove through admissible evidence that each class member was

        injured, and Defendants were allowed to challenge and rebut that evidence.

        Resolving those disputes—which the district court twice avoided, first by holding

        that the standing of unnamed class members did not matter, and then by holding that

        all class members were harmed by the mere possibility that their appraisers were

        exposed to borrowers’ estimates—would require individualized submissions, which

        would predominate heavily over any common evidence. Indeed, the proof of actual

        damages that this Court has already ordered as an element of the contract case is

        exactly the kind of individualized submission that precludes certification of a class

        action under Rule 23(b)(3). See Alig, 990 F.3d at 796. 22


        22
           The Court previously stated that measuring damages could be done through “the
        ministerial exercise of comparing actual home values to estimates of value” to
        determine whether the estimates were inflated. Alig, 990 F.3d at 793-794. That is
        incorrect for several reasons. First, Plaintiffs have no evidence of class members’
        “actual home values” during the 2004-2009 class period, except a single
        retrospective appraisal of the Aligs’ home (the accuracy of which is contested). See
        pp. 10-13, supra. Amassing and ruling on such individualized evidence of the past
        value of every class member’s home would be far from “ministerial.” And even if
        a particular home’s appraised value during the class period correlated with the BEV,
        this does not mean there was any influence at all—for example, if the appraiser
        independently came to the same number as the borrower without even seeing the
        borrower’s estimate, or (as the Court acknowledged elsewhere in its opinion) “if a
        borrower’s estimate of value was accurate.” Alig, 990 F.3d at 793, 796. Nor would
        even an inflated appraisal be sufficient to show injury—Plaintiffs would have to go
        further and establish an actual effect on the loan amount (which would not be the
        case for class members borrowing much less than the appraised value, pp. 16-17,


                                                -50-
USCA4 Appeal: 22-2289     Doc: 40        Filed: 06/08/2023    Pg: 60 of 66




              The Sheas, who are named class members but not class representatives, are

        illustrative. The Sheas’ own appraiser testified that the Sheas’ estimate had no effect

        on him. JA444-445. This testimony, coupled with the undisputed fact that his

        appraisal was below the Sheas’ estimate, demonstrates the Sheas’ lack of injury.

        And the Sheas’ individual circumstances after refinancing further reinforce the

        point: their refinance loan lowered their interest rate, and they sold their home a few

        years later for more than enough money to pay off the loan.

              At a trial, Defendants would be entitled to present similar evidence as to every

        single loan in the class. “[A] class cannot be certified on the premise that [a

        defendant] will not be entitled to litigate its [constitutional] defenses to individual

        claims.” Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 367 (2011). No class

        member’s standing can be adjudicated with common evidence, and as a result,

        individualized issues strongly predominate over any common ones.

                                                 ***

              This Court has already agreed that the record is “devoid of evidence” that any

        unnamed class member’s appraisal was inaccurate. Alig, 990 F.3d at 803 n.22.

        Given that, TransUnion tells this Court exactly what it must now do: it must reject

        the district court’s holding that Plaintiffs could establish classwide standing through


        supra) as well as a negative economic impact on the borrower. Yet the district court
        granted Plaintiffs summary judgment without considering any of these
        individualized, disputed facts.

                                                 -51-
USCA4 Appeal: 22-2289     Doc: 40        Filed: 06/08/2023     Pg: 61 of 66




        a claim of “risk,” “exposure,” or “taint.” As in TransUnion, the class here is replete

        with people who suffered no injury and for whom the statutory-damages award

        (here, $3,500) is a windfall, not a remedy, when they got the loans they wanted and

        were never underwater on their loans. Neither Article III nor Rule 23 allows a court

        to award them damages without evidence of harm.

              The absence of classwide standing on the statutory-damages claim does not

        mean the case should be remanded to state court, however. Unlike in cases where

        this Court has vacated with instructions to remand to state court, 23 the district court

        certainly had jurisdiction over this case. It had jurisdiction over Plaintiffs’ other

        claims (e.g., those alleging unlawful fees), which it resolved in Defendants’ favor,

        JA799, JA801; it had jurisdiction over the breach-of-contract claim and would retain

        jurisdiction if the Court again remands that claim; and the removal statute contains

        no mechanism for a federal court to remand only part of a properly removed

        diversity case. See 28 U.S.C. § 1447. The district court also had jurisdiction over

        the named plaintiffs’ WVCCPA claims at the time of removal, because they alleged

        detrimental reliance and actual harm, JA66-69, and the Aligs continued to assert

        actual economic injury and seek actual damages even outside the certified class (a

        claim that was resolved by stipulation). JA781-782. The fact that absent class


        23
          See, e.g., O'Leary v. TrustedID, Inc., 60 F.4th 240, 242 (4th Cir. 2023) (plaintiff
        questioned his own Article III standing).


                                                 -52-
USCA4 Appeal: 22-2289     Doc: 40        Filed: 06/08/2023   Pg: 62 of 66




        members lack standing does not defeat the federal courts’ jurisdiction: once the class

        is decertified because standing defeats the necessary predominance, those absent

        class members are no longer before the federal court at all.

        V.    Defendants incorporate their prior briefing on questions unrelated to
              standing.

              The district court’s final judgment, JA816-817, reinstated its prior final

        judgment in full, see JA799-802, and therefore all issues in the original appeal, No.

        19-1059, are live again. This includes whether the district court erred in entering

        summary judgment for Plaintiffs, certifying the class, and awarding restitution for

        breach of contract. These issues were fully briefed in the prior appeal. Accordingly,

        this Court has permitted the parties to incorporate by reference portions of the

        briefing previously filed in No. 19-1059 and limit the new briefing in this appeal to

        the standing issue that this Court had remanded to the district court. Dkt. No. 23.

              Defendants accordingly incorporate by reference all the arguments they made

        in their initial briefing on appeal in No. 19-1059. See Opening Brief in No. 19-1059

        (ECF No. 60) (“19-1059 Opening Brief”); Reply Brief in No. 19-1059 (ECF No. 61)

        (“19-1059 Reply Brief”).

              Two of those arguments bear particular mention here. First, the district court’s

        certification of the class with respect to the breach-of-contract claim depended on

        the notion that every plaintiff’s damages would be restitution of the appraisal fee.

        That was incorrect. 19-1059 Opening Brief 54-58; 19-1059 Reply Brief 17-20. The


                                                -53-
USCA4 Appeal: 22-2289     Doc: 40        Filed: 06/08/2023     Pg: 63 of 66




        Court’s prior opinion did not reach the issue. 990 F.3d at 798 n.17. But that issue

        bears on certification as well: establishing expectancy damages (an element of the

        claim) would require individualized proof, defeating predominance. Opening Br.

        51; Reply Br. 26. As already explained, that would not be a “ministerial” exercise.

        Note 22, supra. That is an independent reason for decertification.

              Second, this Court previously agreed with Defendants that the district court

        erred in granting Plaintiffs summary judgment on the breach-of-contract claim. 990

        F.3d at 794-98. The supposed contract term on which the court relied does not exist,

        and the district court erred when it held the appraisals not acceptable as a matter of

        law. Id.; 19-1059 Opening Brief 32-37; 19-1059 Reply Brief 15-17. The Court

        should (at a minimum) reinstate that holding, as the district court reinstated its prior

        judgment without change.

              Defendants also specifically incorporate the following arguments:

              • The district court erred in granting Plaintiffs summary judgment on
                the unconscionable inducement claim under the WVCCPA, because
                Plaintiffs proved neither inducement nor unconscionable conduct.
                19-1059 Opening Brief 20-32; 19-1059 Reply Brief 6-14.

              • Defendants were entitled to summary judgment on the contract
                claim. 19-1059 Opening Brief 31-36; 19-1059 Reply Brief 15-17.

              • The district court’s class-certification orders rested on multiple legal
                errors and abuses of discretion besides the standing issue. 19-1059
                Opening Brief 37-54; 19-1059 Reply Brief 20-28.

              • Restitution could not be awarded without trial. 19-1059 Opening
                Brief 54-58; 19-1059 Reply Brief 17-20.


                                                 -54-
USCA4 Appeal: 22-2289    Doc: 40         Filed: 06/08/2023      Pg: 64 of 66




              • To support the district court’s decisions, Plaintiffs rely on new
                justifications that the district court never adopted and new factual
                contentions from outside the record. 19-1059 Reply Brief 2-4.

                                          CONCLUSION
              This Court should reverse the judgment of the district court certifying the class

        and vacate the damages award.

                                                 Respectfully submitted,

                                                 /s/William M. Jay
         Helgi C. Walker                         William M. Jay
         Jesenka Mrdjenovic                      Thomas M. Hefferon
         Andrew G.I. Kilberg                     Brooks R. Brown
         GIBSON, DUNN & CRUTCHER LLP             Jaime A. Santos
         1050 Connecticut Avenue, N.W.           Keith Levenberg
         Washington, D.C. 20036                  Rohiniyurie Tashima*
         Tel.: +1 202 955 8500                   GOODWIN PROCTER LLP
                                                 1900 N Street, N.W.
         Theodore J. Boutrous, Jr.               Washington, D.C. 20036
         GIBSON, DUNN & CRUTCHER LLP             Tel.: +1 202 346 4000
         333 South Grand Avenue
         Los Angeles, CA 90071                   Edwina B. Clarke
         Tel.: +1 213 229 7000                   GOODWIN PROCTER LLP
                                                 100 Northern Ave.
                                                 Boston, MA 02210
                                                 Tel.: +1 617 570 1000

                                                 *Admitted only in New York and Virginia; not
                                                 admitted in the District of Columbia. Practicing
                                                 under the supervision of counsel admitted in the
                                                 District of Columbia.

                                                 Counsel for Defendants-Appellants

         Dated: June 8, 2023




                                                -55-
USCA4 Appeal: 22-2289     Doc: 40         Filed: 06/08/2023     Pg: 65 of 66




                                    CERTIFICATE OF SERVICE

              I, William M. Jay, hereby certify that on June 8, 2023, I electronically

        transmitted the foregoing document to the Clerk’s Office using the CM/ECF System.

        I certify that all participants in this case are registered CM/ECF users and that service

        will be accomplished by the CM/ECF system.



                                                         /s/ William M. Jay
                                                         William M. Jay




                                                  -56-
USCA4 Appeal: 22-2289    Doc: 40        Filed: 06/08/2023   Pg: 66 of 66




                             CERTIFICATE OF COMPLIANCE

              This brief complies with the type-volume limitation of Federal Rule of

        Appellate Procedure 32(a)(7)(B). This brief contains 12,963 words, excluding the

        parts of the brief exempted by Federal Rule of Appellate Procedure 32(f).

              This brief complies with the typeface requirements of Federal Rule of

        Appellate Procedure 32(a)(5) and the type style requirements of Federal Rule of

        Appellate Procedure 32(a)(6). This brief has been prepared in a proportionally

        spaced typeface, 14-point Times New Roman font, using Microsoft Word 2010.




                                                   /s/ William M. Jay
                                                   William M. Jay




                                               -57-
